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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION
                                       )                 Case No. 2:19-cv-00291-JRG-RSP
   ULTRAVISION TECHNOLOGIES, LLC,      )                 (LEAD CASE)
                                       )
                                       )                 JURY TRIAL DEMANDED
                   Plaintiff,
                                       )
                   v.                  )
                                       )
   HOLOPHANE EUROPE LIMITED, ACUITY )
   BRANDS LIGHTING DE MEXICO S DE RL )
   DE CV, HOLOPHANE, S.A. DE C.V., AND )
   ARIZONA (TIANJIN) ELECTRONICS       )
   PRODUCTS TRADE CO., LTD.,           )
                                       )                 Case No. 2:19-cv-00398-JRG-SP
   YAHAM OPTOELECTRONICS CO.,          )                 (CONSOLIDATED CASE)
   LTD.,                               )                 JURY TRIAL DEMANDED
                   Defendants.         )
                                       )

                        ORDER GRANTING JOINT MOTION TO STAY
                       ALL DEADLINES AND NOTICE OF SETTLEMENT

          On this date the Court considered the Joint Motion to Stay All Deadlines and Notice of

   Settlement between Plaintiff Ultravision Technologies, LLC (“Ultravision”) and Defendant

   Yaham Optoelectronics Co., Ltd. (“Yaham”) (collectively, the “Parties”). Based on the motion,

   the grounds set forth therein, the pleadings and other filings in this case, and the agreement of the

   Parties to the motion, the Court finds that good cause has been established and the Joint Motion

   to Stay All Deadlines should be granted.

          It is, therefore, ORDERED that all proceedings and deadlines in this case between the

   Parties be stayed for thirty (30) days.
